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 7   Attorneys for Plaintiff
 8                          UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10                                    WESTERN DIVISION
11

12
     PCR DISTRIBUTING CO., a company             Case No.: 2:24-cv-07453-FLA-AJR
13   organized under the laws of California,
14                                               PLAINTIFF PCR DISTRIBUTING
                  vs.
                                                 CO.’S NOTICE OF MOTION AND
15
     JOHN DOES 1 - 10 d/b/a,                     MOTION FOR EARLY
16   NHENTAI.NET                                 DISCOVERY
17
                        Defendants.              (DECLARATION OF JASON
18                                               TUCKER; DECLARATION OF
19
                                                 ERIC BJORGUM; PROPOSED
                                                 ORDER FILED CONCURRENTLY)
20

21
                                                 Date: October 4, 2024
22                                               Time: 1:30 p.m.
23
                                                 Place: First Street Courthouse
                                                        350 W. 1st Street
24                                                      Courtroom 6B, 6th Floor
25
                                                        Los Angeles, California 90012
                                                 Judge: Hon. Fernando L. Aenlle-Rocha
26


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 1   TO    THE      JUDGES       OF    THIS     HONORABLE              COURT        AND
 2   DEFENDANTS NHENTAI.NET AND JOHN DOES 1-10:
 3         PEASE TAKE NOTICE that on October 4, 2024 at 1:30 p.m. in
 4   Courtroom 7 before the Hon. Fernando L. Aenlle-Rocha of the United States
 5   District Court, Central District of California, located at 350 W. 1st Street, 6th
 6   Floor, Courtroom 6B, Los Angeles, CA 90012, Plaintiff PCR Distributing
 7   Company (“Plaintiff”) will and hereby does move this Court for an order
 8   granting its Motion for Early Discovery.
 9         Plaintiff files this Motion through its counsel, Karish & Bjorgum, PC.
10   Plaintiff seeks leave of this Court to discover the identities of all owners and
11   operators of nHentai.net, the web sites infringing Plaintiff’s copyrighted works.
12   This information is essential to prosecuting the Complaint filed by Plaintiff in
13   this case (Dkt. No. 1). To effectuate this goal, Plaintiff seeks a Court order
14   allowing it to serve document subpoenas on (1) NameCheap, Inc., (2) Cloudflare,
15   Inc., and (3) Lanoto Solutions Inc. (together, the “Service Providers”) for
16   identifying information of the Defendants, who are their customers.
17         This Motion is based on this Notice and the accompanying Memorandum
18   of Points and Authorities in support thereof, the Declaration of Jason Tucker,
19   Declaration of Eric Bjorgum, and the [Proposed] Order in Support Thereof, the
20   pleadings and records on file with this Court, and any evidence and argument as
21   may be presented at or before the hearing on this matter.
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 1         As established by the Declaration of Jason Tucker, and the Declaration of
 2   Eric Bjorgum, this Motion must be brought without any Local Rule 7-3
 3   conference of counsel because, absent grant of this Motion, Defendants cannot
 4   be located for service.
 5

 6

 7   Dated: September 6, 2024             KARISH & BJORGUM, PC
 8

 9                                        /s/ A. Eric Bjorgum
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 1                 MEMORANDUM OF POINTS AND AUTHORITIES
 2

 3         Plaintiff, PCR Distributing Company (“Plaintiff”) files this Motion for
 4   Early Discovery (“Motion”) in the above-captioned case through its counsel, A. Eric
 5   Bjorgum. Plaintiff seeks leave of this Court to discover the identities of all owners
 6   and operators of the website and uniform resource locator (“URL”) nHentai.net
 7   (“NHentai”), the website infringing Plaintiff’s copyrighted works. This
 8   information is essential to prosecuting the Complaint Plaintiff filed in this case
 9   (Dkt. No. 1). To effectuate this goal, Plaintiff seeks a Court order allowing it to
10   serve document subpoenas on (1) NameCheap, Inc., (2) Cloudflare, Inc., and (3)
11   Lanoto Solutions Inc. (together, the “Service Providers”) for identifying
12   information of the Defendants, who are their customers.
13   I.    INTRODUCTION
14         Plaintiff seeks the identities of Defendants, the owners and operators of
15   nHentai, who have taken measures to conceal their identity. NHentai is a website
16   that hosts and displays thousands of pirated works. The first step in identifying the
17   Defendants is to serve document subpoenas on the registrar and other service
18   providers associated with nHentai and with the delivery of the content on the
19   website. Plaintiff therefore seeks leave of Court to serve document subpoenas on
20   these online service companies and other third parties in advance of this case’s Rule
21   26(f) conference to discover Defendants’ true identities and serve them with
22   process in this case.
23   II.   FACTUAL BACKGROUND
24         Plaintiff is a private company organized in California under the laws of the
25   United States that owns, creates, acquires, translates, and distributes premium
26   hentai art and publications from Asia to the U.S. market. To protect its content and

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 1   business conducted in the United States, Plaintiff registered copyrights in its
 2   content with the U.S. Copyright Office. See Complaint (Dkt. No. 1), ¶¶ 1, 2, 23.
 3            Defendants, Does 1-10, are unknown individuals and/or entities
 4   operating nHentai.net See Compl., ¶¶10, nHentai.net is a website that displays
 5   pirated copyright-registered content without authorization or license. See Compl.,
 6   ¶¶34, Defendants knowingly and purposefully market to and target the entire United
 7   States, including residents of this District, through nHentai. See Compl., ¶¶ 13, et
 8   seq. The nHentai.net website averages around 79 million viewers per month. See

 9   Compl., ¶ 14. Of these users, visitors from the United States made up the largest

10
     market at 24.63%. Id.
              NHentai’s copyright infringement is open and unconcealed, but the site’s
11
     owners and operators hide their identities. The domain name uses registrar-
12
     provided privacy services to hide the actual identities of their owners and
13
     operators.1 Declaration of Jason Tucker (“Tucker Decl.”), ¶ 9.
14

15            NHentai Uses Vendors Who May Know the Identity of Its Owners and
16   Operators
17            NHentai uses several service providers who may know the identity of the
18   people behind the websites.
19            NHentai uses Namecheap, Inc., a Delaware corporation, based in Phoenix,
20   Arizona as its registrar, and thus, NameCheap Inc. has the registration information
21   for nHentai.net. See Compl., ¶¶ 16 Tucker Decl., ¶ 10.
22            NHentai uses Cloudflare, Inc., located in California, for domain name server
23   services. See Compl., ¶¶ 17; Tucker Decl., ¶¶ 12.
24            Defendants also have an account with California-based Cloudflare for
25

26
     1   Source: https://www.namecheap.com/domains/whois/result?domain=nhentai.net Las Visited September 3, 2024



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 1   services including its Cloudflare Insights Analytics product. See Compl. ¶ 18.;
 2   Tucker Decl., ¶¶ 11.
 3          Lanoto Solutions Inc., a New York-based company advertises on nHentai,
 4   transacts with nHentai, and thus has information for the operators of nHentai. See
 5   Compl. ¶ 15.
 6          Plaintiff counsel has contacted NHentai’s service providers—including
 7   Cloudflare, Inc.—who have either ignored requests for information or previously
 8   said they would only provide information in response to a subpoena. See
 9   Declaration of A. Eric Bjorgum in Support of Motion for Early Discovery
10   (“Bjorgum Decl.”), ¶¶ 2-3.
11   III.   STANDARD
12          Federal Rule of Civil Procedure 26(d) bars parties from seeking "discovery
13   from any source before the parties have conferred as required by Rule 26(f), except
14   in a proceeding exempted from initial disclosure under Rule 26(a)(1)(B), or when
15   authorized by these rules, by stipulation, or by court order." Fed. R. Civ. P.
16   26(d)(1). In determining whether to permit expedited discovery, courts in this
17   jurisdiction require that the moving party demonstrate that "good cause" exists to
18   deviate from the standard pretrial schedule. See Amazon.com Inc. v. Yong, 2021
19
     U.S. Dist. LEXIS 64992, 2021 WL 1237863, at *1 (W.D. Wash. Apr. 2, 2021)
20
     (adopting the "good cause" standard for motions for expedited discovery and
21
     finding that plaintiffs demonstrated good cause for expedited discovery); see also
22
     Semitool, Inc. v. Tokyo Electron Am., Inc., 208 F.R.D. 273, 276 (N.D. Cal. 2002)
23
     (applying "the conventional standard of good cause in evaluating Plaintiff's request
24
     for expedited discovery").
25

26


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 1         "Good cause may be found where the need for expedited discovery, in
 2   consideration of the administration of justice, outweighs the prejudice to the
 3   responding party." Semitool, 208 F.R.D. at 276. As explained by the Ninth Circuit,
 4   "[w]here the identity of alleged defendants will not be known prior to the filing of
 5   a complaint[,] . . . the plaintiff should be given an opportunity through discovery to
 6   identify the unknown defendants, unless it is clear that discovery would not
 7   uncover the identities, or that the complaint would be dismissed on other grounds."
 8   Gillespie v. Civiletti, 629 F.2d 637, 642 (9th Cir. 1980); see also Music Grp.
 9   Macao Commercial Offshore Ltd. v. John Does I-IX, 2014 U.S. Dist. LEXIS
10   185222, 2014 WL 11010724, at *1 (W.D. Wash. July 18, 2014) ("Courts routinely
11
     permit early discovery for the limited purpose of identifying 'Doe' defendants on
12
     whom process could not otherwise be served.").
13
           To establish good cause for unknown defendants, a plaintiff must: (1)
14
     identify the unknown defendants with sufficient specificity for the court to
15
     "determine that the defendant is a real person who can be sued in federal court";
16
     (2) recount the efforts taken to locate and identify the unknown defendants; (3)
17
     demonstrate the action can withstand a motion to dismiss; and (4) demonstrate a
18
     reasonable likelihood that the sought discovery will "lead to identifying
19
     information that will permit service of process." Cobbler Nev., LLC v. Doe 1-32,
20
     2015 U.S. Dist. LEXIS 121498, 2015 WL 5315948, at *3 (W.D. Wash. 2015)
21
     (citing Columbia Ins. Co. v. seescandy.com, 185 F.R.D. 573, 578-80 (N.D. Cal.
22
     1999)). Good cause exists where a plaintiff has exhausted its means to identify the
23
     unknown defendants through publicly available information and has no other way
24
     to identify the individuals involved in the scheme. Facebook, Inc. v. Various, Inc.,
25
     2011 U.S. Dist. LEXIS 64539, 2011 WL 2437433, at *3 (N.D. Cal. 2011) ("Courts
26


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 1   in [the Ninth] Circuit permit expedited discovery to identify unknown defendants
 2   usually when the plaintiff simultaneously can identify no defendants and
 3   legitimately fears that information leading to their whereabouts faces imminent
 4   destruction."); see also Semitool, 208 F.R.D. at 277 (granting expedited discovery
 5   where narrowly tailored requests will "substantially contribute to moving this case
 6   forward").
 7   IV.      ARGUMENT
 8            A.    Defendants Are Real Persons or Entities
 9
              First, Plaintiff has identified the Defendants with enough specificity that
10
     the Court can determine they are real people or entities who could be sued in
11
     federal court. Plaintiff observed and documented copyright infringement of its
12
     registered works by individuals and/or entities that own or operate the NHentai
13
     website. See Compl., ¶¶ 39-58. The requested discovery is necessary for the
14
     Plaintiff to determine their true names and addresses.
15
              Further, as plead in the Complaint, Defendants had previously attempted to
16
     anonymously work through counsel to anonymously negotiate a settlement
17
     agreement. (Complaint, D.N. 1 at 49.) There is no doubt that these Defendants
18
     exist.
19
              B.    Plaintiff Has Taken Steps to Identify Defendants
20
              Second, Plaintiff has exhausted the available steps to identify Defendants
21
     short of serving discovery on nHentai service providers. Defendants’ website
22
     provides no identifying information; nHentai uses privacy services to conceal
23
     the identity of the owners of its domains; and no one responded to the DMCA
24
     takedown notices Plaintiff submitted to nHentai.net using contact information
25
     found on the website or sent to service providers. See Compl. ¶¶ 52-54, Tucker
26


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 1   Decl., ¶ 13. Finally, Plaintiff sent emails to NameCheap, Inc., Cloudflare, Inc.,
 2   and Lanoto Solutions Inc. Namecheap claimed to not be the current registrar for
 3   Defendants, but it was when Plaintiff filed this case less than two weeks ago.
 4   (Bjorgum Decl., ¶ 2.) A simple subpoena for Namecheap’s records for the last
 5   three years would fix this issue. Plaintiff does not have more information that
 6   would identify Defendants and does not know of any means likely to provide
 7   their identity other than seeking information maintained by the domain privacy
 8   service, registrar service, and other service providers. Tucker Decl., ¶ 14. In short,
 9   Plaintiff has no way of determining Defendants’ identities except through pre-
10   service discovery.
11         C.     Plaintiff’s Complaint Can Withstand a Motion to Dismiss
12         Third, Plaintiff’s Complaint pleads prima facie claims for copyright
13   infringement, contributory copyright infringement, and vicarious infringement
14   that would withstand a motion to dismiss. Specifically, Plaintiff has alleged that
15   (i) it owns and has registered the copyright in the works at issue; that (ii)
16   Defendants made unauthorized reproductions of those works and distributed them
17   without Plaintiff’s authorization; and (iii) Plaintiff was damaged by Defendants’
18   actions. See Compl. ¶¶ 61-73. These allegations state a claim for copyright
19   infringement.
20         When outlining the factors above, the court in Columbia Ins. noted that
21   when parties seek redress against defendants who take advantage of the
22   anonymity of the internet to commit torts online, “traditional enforcement of strict
23   compliance with service requirements should be tempered by the need to provide
24   injured parties with a forum in which they may seek redress for grievances,”
25   balanced against the right to participate in online forums anonymously “so long as
26   those acts are not in violation of the law.” Columbia Ins., 185 F.R.D. at 578. Here,

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 1    the factors show that Plaintiff needs to learn Defendants’ identities to stop their
 2    ongoing copyright infringement, while Defendants’ conduct does not use
 3    anonymity to foster communication or inquiry but instead to avoid being held
 4    accountable for exploiting someone else’s intellectual property.
 5          D.     The Discovery Plaintiff Seeks Will Allow Plaintiff to Identify and
 6          Serve Defendants
 7          Early discovery should help identify information about the Defendants. The
 8    three service providers identified—NameCheap, Inc., Cloudflare, Inc., and Lanoto
 9    Solutions Inc.—are likely to have relevant details about the Defendants’ identities
10    and locations. Plaintiff requests leave to subpoena these providers for all relevant
11    information, including names, addresses, login information, billing and transaction
12    records, account information, server logs and IP addresses, email exchanges, and
13    IP login information related to the Defendants’ accounts for the NHentai.net
14    domain name.
15          The Order should further specify that Plaintiff shall use this information only
16    to prosecute the claims made in its Complaint. Further, because 47 U.S.C. § 551
17    (The Cable Privacy Act) prohibits cable operators from disclosing personally
18    identifiable information concerning subscribers without the prior written or electronic
19    consent of the subscriber or a court order, and because some internet service providers
20    are also cable operators, Plaintiff requests that the Court’s Order state that the Court
21    has contemplated the Cable Privacy Act and that the order complies with the Act’s
22    requirements. And because Plaintiff has not confirmed Defendants’ identities or
23    locations or been able to serve them with process, it respectfully requests that it be
24    excused from the advance notice requirement of Federal Rule of Civil Procedure
25    45(b)(1).
26


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 1          E.     If Necessary, Plaintiff Has Good Cause for an Extension of the
 2          Service Deadline
 3          “Rule 4(m) contains both a mandatory and a discretionary component.”
 4    Hearst v. West, 31 F. App’x 366, 368 (9th Cir. 2002). Upon a showing of good
 5    cause for the lack of service or for defective service, the district court must extend
 6    the time period for service. In re Sheehan, 253 F.3d 507, 512 (9th Cir. 2001). Even
 7    absent a showing of good cause, the district court still has “the discretion to dismiss
 8    without prejudice or extend the time period.” Id. (citing Petrucelli v. Bohringer &
 9    Ratzinger, GMBH, 46 F.3d 1298, 1305 (3d Cir.1995)).
10          Plaintiff has good cause for having not served any domestic defendants that
11    still need to be served: it does not yet know who they are yet or where they reside.
12    Having exhausted the information available to it through readily available sources,
13    Plaintiff requires formal discovery from third parties to identify, locate, and effect
14    service on Defendants.
15          Plaintiff has invested considerable time and resources into determining
16    Defendants’ identities. It believes the third-party discovery requested in this Motion
17    will result in identifying Defendants and that Plaintiff can then quickly serve them.
18    Without discovery, U.S. defendants could be dismissed from this suit without
19    prejudice for lack of service. Plaintiff’s efforts to identify them would not cease,
20    however, and once they were identified, it would sue them. The more efficient
21    approach is to allow discovery now to expedite the process.
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 1

 2    V.    CONCLUSION
 3          For the reasons above, Plaintiff respectfully requests that the Court enter the
 4    proposed order submitted herewith, authorizing it to conduct third-party discovery
 5    to identify, locate, and serve Defendants.
 6

 7    Dated: September 6, 2024
 8

 9                                           KARISH & BJORGUM, PC
10

11                                           /s/ A. Eric Bjorgum
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